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DAVIDOFF HUTCHER & CITRON LLP
Creditor and Party in Interest
605 Third Avenue
New York, NY 10158
(212)-557-7200
Robert L. Rattet, Esq.
Jonathan S. Pasternak, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    Chapter 11
 In re:

 RUDOLPH W. GIULIANI,                               Case No. 23-12055 (SHL)

                 Debtor.


    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF DOCUMENTS

          PLEASE TAKE NOTICE THAT Davidoff Hutcher & Citron LLP hereby appears in the

above-captioned Chapter 11 case (the “Chapter 11 Case”) on its own behalf and on behalf of its

member Robert Costello (“Appearing Parties”), and, pursuant to the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), hereby requests that copies of all notices and pleadings given

or required to be given in the Chapter 11 Case, and all papers served or required to be served in

the Chapter 11 Case, be directed and served via CM/ECF to the email addresses set forth below

and, if necessary, delivered to the following address, telephone and fax numbers:
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                            DAVIDOFF HUTCHER & CITRON LLP
                            605 Third Avenue
                            New York, New York 10158
                            Email rlr@dhclegal.com
                                   jsp@dhclegal.com
                                   jbg@dhclegal.com
                            Telephone (212) 557-7200
                            Fax (212) 286-1884


Dated: New York, New York
       December 22, 2023


                                          DAVIDOFF HUTCHER & CITRON LLP
                                          Creditor and Party in Interest and on behalf of
                                          Robert J. Costello
                                          605 Third Avenue
                                          New York, New York 10158
                                          (212) 557-7200

                                          By:   /s/ Robert L. Rattet
                                                ROBERT L. RATTET, ESQ.
